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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

    GENGER COSSICH                                          CIVIL ACTION
    VERSUS                                                  NO. 22-2517
    FAT CATZ MUSIC CLUB, INC.                               SECTION "E" (4)


                                SHOW CAUSE ORDER


          Plaintiff(s) Genger Cossich represents that service has been made upon

defendant(s) Fat Catz Music Club, Inc. 1 The record reflects that no responsive pleadings

have been filed by said defendant(s).

          Accordingly,

          IT IS ORDERED that the plaintiff(s) move for entry of default against said

defendant(s) under Rule 55 of the Federal Rules of Civil Procedure or show good cause in

writing within 20 days why these defendant(s) should not be dismissed for failure to

prosecute. If counsel for the plaintiff(s) fails to move for entry of default or show good

cause in writing, the aforementioned defendant(s) will be dismissed without prejudice

for failure to prosecute without further notice in accordance with Rule 16(f) of the Federal

Rules of Civil Procedure.

                New Orleans, Louisiana, this 14th day of October, 2022.




                         ____________________ _______
                                 SUSIE MORGAN
                          UNITED STATES DISTRICT JUDGE




1   R. Doc. 4
